 

Case 3:11-cv-00463-JCH Document 133 Filed 10/09/18 Prac 1 of 16
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From: CMECF @ctd.uscourts.gov

Sent: Monday, June 05, 2017 4:59 PM

To: CMECF @ctd.uscourts.gov

Subject: Activity in Case 3:11-cv-00463-JCH Velasco v. Halpin et al Order

This is an automatic e-mail message generated by the CM/ECF system. Please DO NOT RESPOND to
this e-mail because the mail box is unattended.

***NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States policy permits
attorneys of record and parties in a case (including pro se litigants) to receive one free electronic copy of
all documents filed electronically, if receipt is required by law or directed by the filer. PACER access fees
apply to all other users. To avoid later charges, download a copy of each document during this first
viewing. However, if the referenced document is a transcript, the free copy and 30 page limit do not

apply.
U.S. District Court
United States District Court for the District of Connecticut
Notice of Electronic Filing

The following transaction was entered on 6/5/2017 at 4:59 PM EDT and filed on 6/5/2017

Case Name: Velasco v. Halpin et al
Case Number: 3:11-cv-00463-JCH
Filer:

Document Number: 46(No document attached)

Docket Text:

ORDER: The Court has concluded that proper and effective judicial processing in this case
cannot be achieved without the appointment of counsel. Accordingly, pursuant to Local Rule
83.10, the Court directs the Pro Se Clerk to find counsel to represent the plaintiff, Victor Jose
Velasco.

SO ORDERED by Judge Janet C. Hall on 6/5/2017.(Lewis, D)

3:11-cv-00463-JCH Notice has been electronically mailed to:
Thomas J. Davis, Jr. Thomas.Davis@ct.gov
3:11-cv-00463-JCH Notice has been delivered by other means to:

Victor Jose Velasco

Inmate 213065

NORTHERN CORRECTIONAL INSTITUTION
287 Bilton Road

P.O. Box 665

Somers, CT 06071
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MacKenzie Hall
110 Sherman Street
Hartford, CT 06105-2294

GEORGE JEPSEN
ATTORNEY GENERAL

 

Office of the Attorney General er
State of Connecticut Fax: (860) 808-5591
April 19, 2018

Kathleen Skomro
Department of Correction |
Inmate Trust Fund

P.O. Box 290800
Wethersfield, CT 06129-0800

Re: Victor Jose Velasco v. Harpin, Et Al.
Docket No. 3:11CV00463 (JCH)

Dear Ms. Skomro:

Enclosed is State of Connecticut check number 15496550 in the amount of
$2,000.00, payable to "Victor Jose Velasco, Inmate #213065." Please deposit funds
into inmate Velasco's inmate trust fund account.

This check represents payment in full in accordance with the terms: of the
Stipulated Settlement Agreement i in the above-referenced matter.

 

TJD: bmw
Enclosure

cc: Andrew P: Giering, Esq. (With Enclosure)
David A. Ring, Esq. (With Enclosure)
Wiggin & Dana — NH
One Century Tower
265 Church Street
P.O. Box 1832
New Haven, CT 06508-1832
 

Case 3:11-cv-00463-JCH Document 133 Filed 10/09/18 Page 8 of 16

 

 

State of Connecticut
Office of the State Comptroller
Hartford, CT 06106-1775
OSCM1 = 15496550 0000184630
VICTOR JOSE VELASCO
BU OSCM1
287 BILTON RD Agency Name State Comptroller's Office
SOMERS, CT 06071 Reference Number 15496550 :
Payment Date 04/18/2018
Payment Amount 2,000.00
Check Date: 04/18/2018 Supplier Number: 0000184630 Check No: 15496550
Invoice Number Invoice Date Voucher ID Gross Amount _ Discount Taken Late Charge Paid Amount
VICTOR J VELASCO v HARPIN 04/05/2018 00061088 2,000.00 0,00 0.00 2,000.00

Switch to direct deposit for faster payments www.osc.ct.gov/vendor
If additional information is i ease call State Comptroller’:

 

 

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SETTLEMENT. AGREEMENT AND RELEASE

This Settlement Agreement and Release (“Agreement”) is made and entered into by and
between Victor J. Velasco, on behalf of himself and his agents, representatives, and assigns
(hereinafter referred to as “Velasco” or “plaintiff’) and the State of Connecticut.

RECITALS

WHEREAS, Velasco has filed and has currently pending a civil action in United States
District Court against various current or former employees of the Department of Correction of
the State of Connecticut captioned Velasco y. Harpin, et. al., 3:11-cv-463 (JCH) (the “Action’)
and,

WHEREAS, the plaintiff and the State of Connecticut desire to avoid further litigation
and controversy, and wish to resolve, settle and compromise any and all of plaintiff's claims in
the Action;

NOW THEREFORE, the parties hereto make the following settlement agreement and
enter into the following releases:

1. Plaintiff's Obligations: Plaintiff will execute this settlement agreement, a Stipulation of
Dismissal with Prejudice of the Action, and a Federal IRS Form W-9, and return same to
defendants’ counsel.

2. State of Connecticut’s Obligations: Promptly upon receipt of the executed Settlement
Agreement, the attached Stipulation of Dismissal with Prejudice of the Action, and the Federal
IRS Form W-9, all executed by plaintiff, counsel for the defendants will execute this Settlement
Agreement on behalf of the State of Connecticut and return a fully signed copy to the plaintiffs

counsel. The State of Connecticut will then:

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a, Pay to the Plaintiff the sum of Two Thousand Dollars ($2,000.00) by deposit of that

amount into Plaintiff's Inmate Trust Account within thirty (30) days of the receipt of
the signed Settlement Agreement from plaintiff. The State of Connecticut further
agrees to forego collection of any sum owed by Plaintiff to the state for the cost of his

incarceration from the proceeds of this settlement.

. The State Department of Correction (DOC) will vacate the finding of guilty to

Disciplinary Report number RCC 10 11 036 (Security Risk Group Threat Member),
All parties hereto understand and agree that the vacating of the guilty finding shall
haye no collateral effects and shall in no way impact plaintiff's status, classification,
or programming with or by DOC, or in any way affect the conditions of his
incarceration. It is further understood and agreed by all parties hereto that the
vacating of the guilty finding in RCC 10 11 036 shall not be admissible in any
proceeding, judicial, administrative or otherwise, and shall operate solely to remove
the guilty finding without collateral consequence.

The State DOC will permit plaintiff to have possession of his hard covered legal
resource books in his cell so long as the hard covers are removed. In addition, should
plaintiff obtain. additional hard cover legal resource books, he will be permitted to
have possession of them in his cell if the hard covers are removed. This agreément
related to possession of hard covered legal resource books with the hard covers
removed shall continue in force should plaintiff be transferred from his current
correctional institutional placement at Northern Correctional Institution to a different

correctional institution. To assure notice and continuation of this term of this

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agreement, a copy of this Settlement Agreement and Release shall be placed in

plaintiff's DOC master file.
3. Releases:
The plaintiff, on his behalf and behalf of his successors and assigns, for and in
consideration of the fulfillment of the obligation of the State of Connecticut described above, and

other valuable consideration, the receipt of which is hereby acknowledged, does herewith forever

discharge and release the defendants named in the Action, including Gregory Harpin, Daniel ~

Dougherty, Christopher Sweet, Damien Doran, John Alves, and each of their heirs, executors,
assigns and administrators, and the State of Connecticut and each of its current or former
officers, agents, servants, employees, successors, legal representatives and assigns, from any and
all actions, causes of action, suits, claims, controversies, damages and demands of every nature
and kind, including attorneys fees and costs, monetary and equitable relief, whether known or
unknown, which he had or now has or may hereafter can, shall or may have, for, upon, or by
reason of any matter, cause or thing whatsoever from the beginning of the world to the date of
this agreement, including any acts arising out of, or in any way related to the incidents or
circumstances which formed the basis for the Action, including such actions as may have been or
may in the future have been brought in the federal courts, courts of the State of Connecticut or
any other state or forum, any state or federal administrative agency, or before the Claims
Commissioner pursuant to Conn. Gen. Stat. §4-141, et. seq. This release shall include but is not
limited to all causes of action alleging violations of plaintiff's state and/or federal constitutional
rights, his rights arising under the statutes and laws of the United States, the State of Connecticut

or any other sfate, any other source of rights that may exist, and such causes of action as may be

available under the common law.

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4. No Admission of Liability: The Parties to this Settlement Agreement and Release
represent and warrant to each other that they specifically understand and agree that this
Settlement Agreement and Release is a compromise of disputed claims and that the existence of
this agreement or the performance of any obligation or any forbearance made hereunder shall not
be construed as an admission of liability, wrongdoing of any kind, or of the truth of the
allegations, claims, or contentions of any party to the civil action described herein, and that there
are no covenants, promises, undertakings, or understandings between the parties hereto or to the
civil action described herein outside of this Settlement Agreement and Release except as
specifically set forth herein.

5, Representations and Voluntary Action: The parties hereto represent, warrant, and
agree that each has been represented by or had opportunity to confer with his or her own counsel,
that they have each thoroughly read and understood the terms of this Settlement Agreement and
Release, have conferred with or had opportunity to confer with their respective attomeys to the
extent they have any questions in regard to same, and have voluntarily entered into same to
resolve all differences as stated herein.

6. J Counitepuite This Settlement Agreement and Release may be executed in
counterparts, each of which shall be deemed an original. This Settlement Agreement and
Release shall be binding upon the parties and their respective heirs, successors, and assigns.

7. Full Agreement: The parties acknowledge and agree that this Agreement represents the
full and complete agreement of the parties hereto and that this Agreement supersedes and
replaces any prior agreements, whether oral or written, between the Parties. Any amendments or
modifications of this Agreement, including to this sentence, must be in writing and executed by

both parties to be effective.

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8. Construction and Enforcement: The language used in this agreement will be deemed
to be the language chosen by the parties to express their mutual intent and no rule of construction
will be applied against any party. The term “including” as used in this Agreement is used to list
items by way of example and shal] not be deemed to constitute a limitation of any term or
provision contained herein. This Agreement shall be deemed to have been made in the State of
Connecticut, and shall be construed and enforced in accordance with, and the validity and
performance hereof shall be governed by, the laws of the State of Connecticut, without reference
to principles of conflict of laws thereof. This Agreement shall not be construed more strictly
against one party than against the other by virtue of the fact that the Agreement may have been
drafted or prepared by counsel for one of the parties, it being recognized that all parties to this
Agreement have contributed substantially and materially to its preparation.

9, Severability: If any portion of this Agreement is held invalid or inoperative, the other
portions of this Agreement shall be deemed valid and operative, and so far as it is reasonable and
possible, effect shall be given to the intent manifested by the portion held invalid or inoperative.
10. Captions: The titles or captions of the paragraphs or sections contained in this
Agreement are inserted as a matter of convenience and for reference, and in no way define,
extend, or describe the scope of this Agreement or the intent or meaning of any provision hereof.
11. Sovereign Immunity: The parties acknowledge and agree that, by entering into this
Agreement, the defendants and those acting on behalf of the State of Connecticut do not nor are
they authorized to waive the State’s sovereign immunity or its immunity from suit guaranteed by
the Eleventh Amendment to the Constitution of the United States of America or otherwise.

12. Authority to Enter into Agreement: The parties hereto expressly warrant that they

have all necessary authority to enter into this agreement.

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IN WITNESS WHEREOEF, the parties hereto have executed this Settlement Agreement

and Release on the datés set forth bélow.

Vidtor J: Welasco
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Sworn and subscribed before me on this ue day of April, 2018.
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Notary Public / @6mmissioner of Superior Court

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Thomas J. Davis, Jr.
Assistant Attorney Gentral, duly authorized

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Wiggin and Dana Lip Andrew P. Giering
One Century Tower 203.498.4338

P.O. Box 1832 203.782.2889 fax
New Haven, Connecticut agiering@wiggin.com
06508-1832

www. Wwiggin.com

ATTORNEY-CLIENT PRIVILEGED COMMUNICATION
OPEN ONLY IN THE PRESENCE OF THE INMATE

June 25, 2018

Victor Jose Velasco

Inmate 213065

Northern Correctional Institution
287 Bilton Road

P.O. Box 665

Somers, CT 06071

Re: Velasco v. Halpin et al., 11cv463 (JCH)
Dear Mr. Velasco,

We are writing in response to your letters dated May 27 and June 11, and to follow up on our phone
conversation on June 11. Per your requests, please see attached copies of the following documents:
(1) the Uniting and Strengthening America by Providing Appropriate Tools Required to Intercept
and Obstruct Terrorism Act of 2001 (USA PATRIOT Act); (2) the Health Insurance Portability
and Accountability Act of 1996 (HIPAA); and (3) the Form CN-61406 corresponding to your

June 2016 Security Risk Group-related disciplinary report.

As we discussed on June 11, the State informed us that they are willing to offer a small payment in
exchange for a global resolution of all of your pending claims against the State and to resolve the
issue of whether your settlement in Velasco v. Halpin was a general settlement, resolving all of your
pending cases against the State—but vot future claims relating to conduct occurring after the time of
the settlement. Because there is significant risk that a court would hold that the settlement

agreement in Velasco v. Halpin bars your pending claims against the State, our firm is prepared to
contribute additional funds to the State’s offer, so that the total payment would be $4,000.

During our June 11 call, we also discussed your concern about the accuracy of the transcript from
the January 30, 1997 (waiver of) probable cause hearing before Judge John J. Ronan in

State v. Velasco, No. FO2B-CR96-0125148-S (Conn. Super. Ct.), and we agreed to help you obtain
the reporter’s notes and transcript. On June 12, 19 and 20, I spoke with Mary Ellen
Hirschbeck-Hayden, the supervising Court Reporter at the Fairfield Judicial District in Bridgeport.
Mary Ellen confirmed that her office attempted to send you a CD-ROM in 2016, but that it
contained only an electronic version of the January 30, 1997 transcript, which you already have.
Mary Ellen also told us that there is no audio recording of the hearing, and that she cannot send you

Connecticut New York Philadelphia Washington, DC Palm Beach
 

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the original court reporter’s steno notes absent a court order. She said that in order to obtain the
steno notes you should direct a motion to either Judge Ronan, now a judge trial referee in Milford,
or to Judge Robert J. Devlin, Jr., the presiding judge for criminal matters in Bridgeport.

I also asked Mary Ellen about the accuracy of the text and attribution at page 5, lines 3-5 of the
transcript, which reads: “THE DEFENDANT: Your Honor, I want to waive that probable cause
hearing too.” Mary Ellen told me that she had reviewed the transcript and the original steno notes,
and confirmed that the original steno notes contain the symbols corresponding to this text as it
appears in the transcript, and that the stenography symbol that represents “the defendant” appears
immediately before this text in the steno notes.

Finally, in earlier correspondence you asked for advice regarding Victor Rodriguez’s affidavit and
issues relating to an assault you suffered at the hands of another inmate. Unfortunately, we are
barred by the rules of ethics from providing advice to you on that matter because we were appointed
by the court only in regard to Velasco v. Halpin, and we may have a conflict of interest in regard to
other matters because of the State’s current claim that your settlement in Halpin was a general
settlement, and not limited to that case.

Please let us know if you have any questions, and advise us as to your interest in the State’s offer to
settle all pending claims. We wish you the best in your quest to obtain fair and just treatment by the
Department of Correction.

Sincerely,

lay ity

Andrew P. Giering

(Enclosures)

CC: David A. Ring, Esq. (w/o enclosures)
Kevin M. Kennedy, Esq. (w/o enclosures)
